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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                            Chapter 11
    VESTTOO LTD., et al.1
                                                            Case No. 23-11160 (MFW)
                     Debtors.
                                                            (Jointly Administered)

                                                            Objection Deadline: October 27, 2023, at 4:00 p.m.
                                                            (ET)
                                                            Hearing Date: November 8, 2023 at 10:30 a.m. (ET)

    MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING THE
    DEBTORS TO (A) MAINTAIN THEIR INSURANCE COVERAGE ENTERED INTO
     PREPETITION AND PAY RELATED PREPETITION OBLIGATIONS, AND (B)
          RENEW, SUPPLEMENT, MODIFY, OR PURCHASE INSURANCE
              COVERAGE, AND (II) GRANTING RELATED RELIEF

             Vesttoo Ltd. and its affiliated debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), by and through their proposed counsel, DLA Piper

LLP (US), hereby submit this motion (this “Motion”) for entry of an order, substantially in the

form attached to this Motion as Exhibit A (the “Proposed Order”), (i) authorizing, but not

directing, the Debtors, in their sole discretion, to (a) maintain their insurance program and honor

prepetition and postpetition obligations with respect thereto; and (b) renew, supplement, modify,

extend, terminate, or purchase insurance coverage in the ordinary course of business; and (ii)

granting related relief. In support of this Motion, the Debtors rely upon and incorporate by

reference the Amended and Restated Declaration of Ami Barlev in Support of Chapter 11 Petitions

and First Day Pleadings [D.I. 27] (the “First Day Declaration”),2 and respectfully state as follows.



1
          Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the
last four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/vesttoo.
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       Capitalized terms used but not defined in this Motion shall have the meaning given to them in the First
Day Declaration.



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                                JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over these chapter 11 cases, the Debtors, property of the Debtors’ estates and this

matter under 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated as of February 29, 2012. This is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

       2.      Under Rule 9013-1(f) of the Local Rules for the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), the Debtors consent to the entry of a

final judgment or order with respect to this Motion if it is determined that the Court, absent

consent of the parties, cannot enter final orders or judgments consistent with Article III of the

United States Constitution.

       3.      Venue of these chapter 11 cases in this District is proper under 28 U.S.C. §§ 1408

and 1409.

       4.      The statutory bases for the relief requested in this Motion are sections 105, 363,

364, 1107, 1108, and 1112 of Title 11 of the United States Code (the “Bankruptcy Code”) and

Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

       5.      On August 14 and 15, 2023 (the “Petition Date”), the Debtors filed with this Court

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors remain in

possession of their property, continue to operate their business and manage their property as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the

date hereof, no trustee or examiner has been appointed in the chapter 11 cases. On August 31,

2023, the office of the United States Trustee (the “U.S. Trustee”) appointed an official committee



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of unsecured creditors (the “Committee”) in these chapter 11 cases. An initial meeting of creditors

pursuant to section 341 of the Bankruptcy Code was held on September 18, 2023.

       6.      Additional factual background regarding the Debtors, including their business

operations, capital and debt structure, and the events leading to the filing of these chapter 11 cases,

is set forth in detail in the First Day Declaration, which is incorporated herein by reference.

   A. Insurance Policies

       7.      The Debtors’ insurance program comprises commercial insurance policies

maintained by the Debtors, a list of which is attached to this Motion as Schedule 1, that are

administered through various insurers, and which provide coverage for, among other things:

business owners’ liability, workers’ compensation, and directors and officers liability.

       8.      Maintenance of the Debtors’ insurance program is essential to the continued

operation of the Debtors’ business and the laws of the various jurisdictions in which the

Debtors operate.

            i. Commercial Insurance Policies

       9.      In the ordinary course of the Debtors’ business, the Debtors maintain numerous

insurance policies providing coverage for, among other things: business owners’ liability,

property, umbrella, workers’ compensation, and management liability including directors’ and

officers’ liability (the “D&O Policies”), set forth in Schedule 1 to this Motion (collectively, the

“Insurance Policies”). By this Motion, the Debtors seek authority to assume and otherwise

maintain all of their insurance policies with Lloyds Syndicate, Allianz Global Corporate &

Specialty Re, Chubb, StarStone National Insurance Company, Menora, Scottsdale Insurance

Company, and Phoenix Insurance Company (collectively the “Insurance Carriers”). The Insurance

Policies protect the Debtors and their estates from various losses incurred. Additionally, the D&O



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Policies protect the Debtors and their directors and officers and is essential in order to retain the

Debtors’ qualified and dedicated senior management. As of the Petition Date, the Debtors do not

owe any prepetition amounts to the various Insurance Carriers with whom the Debtors maintain

Insurance Policies.

             ii. Insurance Brokers

       10.      The Debtors employ Howden RE Israel Ltd. as their insurance broker (the

“Broker”) to assist the Debtors in procuring and negotiating elements of the Debtors’ insurance

program in Israel in the ordinary course of business. The Debtors do not employ any other brokers

for their U.S. policies. The Broker is essential to the Debtors’ ability to secure insurance coverage,

as it structures and manages the Debtors’ insurance program in a reasonable and prudent manner

and enables the Debtors to realize considerable savings in procuring insurance coverage. For

instance, the Debtors may not have access to certain key markets unless represented by the Broker.

As of the Petition Date, the Debtors owe the Broker approximately $8,040.55. Accordingly, the

Debtors seek this Court’s authority to pay the prepetition amounts owed to the Broker to ensure

the Broker continues to provide services to the Debtors. The Debtors also seek the authority to

continue using the service of the Broker in the ordinary course of business and to pay broker fees,

if any, as necessary in connection with procurement and maintenance of their insurance program.

                                     RELIEF REQUESTED

       11.      Pursuant to sections 105, 363, 364, 1107, 1108, and 1112 of the Bankruptcy Code,

the Debtors request entry of an order, substantially in the form of the Proposed Order, (i)

authorizing, but not directing, the Debtors, in their sole discretion, to (a) maintain their insurance

program and honor prepetition and postpetition obligations with respect thereto; and (b) renew,




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supplement, modify, extend, terminate, or purchase insurance coverage in the ordinary course of

business; and (ii) granting related relief.

                                                BASIS FOR RELIEF

A.      The Bankruptcy Code and U.S. Trustee Operating Guidelines require the
        continuation of the insurance program.

        12.      Section 1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain

appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory

conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C). In addition, in many

instances, the coverage provided under the insurance program is required by the regulations, laws,

and contracts that govern the Debtors’ commercial activities as well as the United States Trustee

for Region 3 Operating Guidelines for Chapter 11 Cases (the “Operating Guidelines”). The

Debtors believe it is essential to their estates, and consistent with the Bankruptcy Code and the

Operating Guidelines, that they (a) maintain and continue to make all payments required under

their insurance program and (b) have the authority to supplement, amend, extend, renew, or replace

the insurance program coverage as needed, in their judgment, without further order of the Court.3

B.      Sections 363(b) and 105(a) of the Bankruptcy Code authorize the payment of the
        Debtors’ insurance obligations.

        13.      To the extent applicable, the Debtors respectfully submit that payment of the

insurance obligations, in the Debtors’ sole discretion, is necessary to maintain the continuity of the

Debtors’ operations and effectuate an expeditious sale process or reorganization and, therefore,

should be authorized under section 363(b) of the Bankruptcy Code. Section 363(b)(1) of the




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        The Debtors believe that continuation of the insurance program and the ability to supplement, amend, extend,
renew or replace such insurance program is authorized in the ordinary course under section 363(c)(1) of the
Bankruptcy Code. The Debtors seek such relief out of an abundance of caution, however, given the importance of the
insurance policies to the protection of their estates.


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Bankruptcy Code authorizes the Court, after notice and a hearing, to permit a debtor to “use, sell,

or lease, other than in the ordinary course of business, property of the estate.” To approve the use

of assets outside the ordinary course of business under section 363(b), courts require only that the

debtor “show that a sound business purpose justifies such actions.” Dai-Ichi Kangyo Bank, Ltd.

v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153

(D. Del. 1999) (internal citations omitted); see also In re Phx. Steel Corp., 82 B.R. 334, 335–36

(Bankr. D. Del. 1987). Moreover, “[w]here the debtor articulates a reasonable basis for its business

decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

entertain objections to the debtor’s conduct.” In re Johns-Manville Corp., 60 B.R. 612, 616

(Bankr. S.D.N.Y. 1986) (citation omitted).

       14.     To supplement these explicit powers, section 105(a) of the Bankruptcy Code

empowers the Court to “issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of this title.” Under section 105 of the Bankruptcy Code and the doctrine

of necessity, the bankruptcy court may permit pre-plan payment of a prepetition obligation when

essential to the continued operation of the debtor and to enable a successful reorganization.

Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 985 (2017); see also In re Lehigh & New

England Ry. Co., 657 F.2d 570, 581 (3d Cir. 1981) (noting that “necessity of payment” doctrine

provides that “if payment of a claim which arose prior to reorganization is essential to the

continued operation of the [debtor] during reorganization, payment may be authorized even if it is

made out of corpus.”); In re Just for Feet, Inc., 242 B.R. 821, 826 (D. Del. 1999) (bankruptcy

courts may exercise equitable powers to authorize payment of prepetition debt where such payment

is necessary to preserve the going concern value of a debtor’s business); In re Ionosphere Clubs,

Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (section 105 empowers bankruptcy courts to



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authorize payment of prepetition debt “when such payment is needed to facilitate the rehabilitation

of the debtor”).

       15.     The Debtors require maintainenance of uninterrupted insurance coverage. If the

Debtors fail to pay any premiums, deductibles, or related fees under the insurance program the

applicable Insurance Carrier may seek to terminate the existing insurance policy, or they may

decline to renew the insurance policy or refuse to insure the Debtors in the future. If the insurance

policies lapse without renewal, the Debtors could be exposed to substantial liability for personal

and/or property damages to the detriment of all stakeholders.

       16.     In addition, the Debtors would be in default under certain key contracts and

applicable law, which require that the Debtors maintain adequate coverage. Consequently, if the

Debtors’ insurance policies lapsed, the Debtors would be required to obtain replacement coverage

on an emergency basis and, likely, at significant expense. Therefore, the continuation of the

insurance programs on an uninterrupted basis and the payment of the insurance obligations are

essential to preserve the Debtors’ business and the value of the Debtors’ estates for all parties in

interest in these chapter 11 cases.

C.     Payment of the insurance obligations is a proper exercise of the Debtors’ fiduciary
       duties under sections 1107(a) and 1108 of the Bankruptcy Code.

       17.     In addition, the Court has the authority, pursuant to its equitable powers under

section 105(a), to authorize the relief request because such relief is necessary for the Debtors to

carry out their fiduciary duties under sections 1107(a) and 1108 of the Bankruptcy Code. Section

1107(a) of the Bankruptcy Code imposes an implied duty on the debtor in possession to “protect

and conserve property” of the estate on behalf of a debtor’s creditors and other parties in interest.

In re Marvel Entm’t Grp., Inc., 140 F.3d 463, 474 (3d Cir. 1998) (citation omitted); In re CoServ,

L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002) (“Implicit in the duties of . . . a debtor in


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possession . . . is the duty of such a fiduciary to protect and preserve the estate, including an

operating business’s going-concern value.”); see also Penick Pharm. v. McManigle (In re Penick

Pharm., Inc.), 227 B.R. 229, 232–33 (Bankr. S.D.N.Y. 1998) (“[U]pon filing its petition, the

Debtor became debtor in possession and, through its management . . . was burdened with the duties

and responsibilities of a bankruptcy trustee.”); In re Advanced Contracting Sols., LLC, 582 B.R.

285, 304 (Bankr. S.D.N.Y. 2018) (“As fiduciaries, the debtor-in-possession and its managers are

obligated to treat all parties to the case fairly, maximize the value of the estate . . . and protect and

conserve the debtor’s property.”).

         18.      Courts in this District frequently grant similar relief with respect to maintenance of

a debtor’s insurance policies, and renewing, terminating, or purchasing new coverage in the

ordinary course. See, e.g., In re AeroFarms, Inc., Case No. 23-10737 (MFW) [D.I. 97] (Bankr. D.

Del. June 29, 2023); In re Fast Radius, Inc., Case No. 22-11051 (BLS) [D.I. 130] (Bankr. D. Del.

December 6, 2022); In re Gold Standard Baking, LLC, Case No. 22-10559 (JKS) [D.I. 137]

(Bankr. D. Del. July 18, 2022); In re TPC Group Inc., Case No. 22-10493 (CTG) [D.I. 385] (Bankr.

D. Del. June 7, 2022); In re Ruby Pipeline, L.L.C., Case No. 22-10278 (CTG) [D.I. 136] (Bankr.

D. Del. May 24, 2022); In re EYP Group Holdings, Inc., Case No. 22-10367 (MFW) [D.I. 132]

(Bankr. D. Del. May 23, 2022); In re CalPlant I Holdco, LLC, Case No. 21-11302 (JTD) [D.I. 90]

(Bankr. D. Del. Oct. 22, 2021).4

D.       Cause exists to authorize the Debtors’ financial institutions to honor checks and
         electronic fund transfers.

         19.      The Debtors request that the Court authorize and direct the Banks and other

financial institutions (the “Banks”) to receive, process, honor and pay all checks and drafts


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        In accordance with Local Rule 7007-2(a)(vii), the Debtors’ proposed counsel has copies of each order and
will make them available to this Court or to any party that requests them. The orders are also available on this Court’s
CM/ECF PACER site at the cited docket numbers and on the dates specified above.


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presented for payment and to honor all electronic payment requests related to the obligations

described in this Motion, whether such checks were presented or electronic requests were

submitted prior to or after the Petition Date; provided that sufficient funds are on deposit in the

applicable bank accounts to cover such payments. The Debtors further request that the Banks be

authorized to rely on the Debtors’ designation of any particular checks or electronic payment

requests as authorized in accordance with the relief requested in this Motion. The Debtors also

seek authority to issue new postpetition checks or effect new electronic fund transfers on account

of the obligations described in this Motion to replace any prepetition checks or electronic

fund transfer requests that may be dishonored as a result of the commencement of these

chapter 11 cases.

        20.     The Debtors have sufficient funds to pay any amounts described in this Motion in

the ordinary course of business. The Debtors also represent that, under the Debtors’ existing cash

management system, the Debtors can readily identify checks or electronic fund transfer requests

as relating to an authorized payment requested in this Motion. Accordingly, the Debtors believe

that checks or electronic fund transfer requests, other than those relating to authorized payments,

will not be honored inadvertently and that the Banks should be authorized and directed, when

requested by the Debtors in their sole discretion, to receive, process, honor and pay any and all

checks or electronic fund transfer requests with respect to the payments requested in this Motion.

                                  RESERVATION OF RIGHTS

        21.     Nothing contained in this Motion is intended to or shall: (a) be construed as an

admission as to the validity of any claim against the Debtors; (b) impair, prejudice, waive or

otherwise affect the rights of the Debtors or their estates to dispute the amount of, basis for, nature,

validity or priority of any claim against the Debtors; (c) impair, prejudice, waive or otherwise



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affect the rights of the Debtors or their estates with respect to any and all claims or causes of action

which may exist against any third party; (d) be construed as an approval, assumption, adoption, or

rejection of any agreement, contract, lease, program, or policy between any Debtor and any third

party under section 365 of the Bankruptcy Code; or (e) create any rights in favor of, or enhance

the status or nature of any claim held by, any person. Authorization to pay the claims described

in this Motion should not be deemed a direction to the Debtors to pay such claims; rather, the

Debtors will make any such payments in their business judgment. In addition, any payment made

pursuant to an order of the Court granting the relief requested in this Motion is not intended to be

and should not be construed as an admission to the validity of any claim or a waiver of any of the

Debtors’ rights to subsequently dispute such claim.

                                              NOTICE

       22.     Notice of this Motion will be provided to: (a) the Office of the United States Trustee

for Region 3 (Attn: Timothy Fox, Esq. (Timothy.Fox@usdoj.gov)); (b) the Office of the United

States Attorney for the District of Delaware; (c) the Committee; (d) the attorney general for each

state in which the Debtors operate; (e) the Insurance Carriers; and (f) any party that has requested

notice pursuant to Bankruptcy Rule 2002. The Debtors respectfully submit that such notice is

sufficient and no other or further notice of this Motion is required.

                            [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, and granting the relief requested in this

Motion and such other and further relief as the Court may deem just and proper.

Dated: October 13, 2023                     DLA PIPER LLP (US)
       Wilmington, Delaware
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                                            Proposed Counsel for the Debtors




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